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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

       JOSHUA STULMAN                               :       CIVIL ACTION
                                                    :
                              Plaintiff             :
               v.                                   :
                                                    :
       PENNSYLVANIA STATE                           :       2:07-cv-01530-LS
       UNIVERSITY, et al.                           :
                                                    :
                                            ORDER

       AND NOW, this _____________________ day of ______________________, 2007,

upon consideration of the Objection of Defendant, Professor Robert A. Yarber, to Plaintiff’s

Notice of Videotape Deposition Dated July 20, 2007, and of the response thereto, if any, filed by

the plaintiff, it is hereby ORDERED as follows:

               1.     The Objection of Defendant, Professor Robert A. Yarber, to Plaintiff’s

Notice of Videotape Deposition Dated July 20, 2007 is SUSTAINED;


               2.     Plaintiff’s Notice of Videotape Deposition is STRICKEN to the extent it

purports to require Professor Yarber to appear for deposition in Philadelphia; and


               3.     Professor Yarber’s deposition shall take place on July 25, 2007, starting at

or around 10:00 a.m. at the law offices of McQuaide Blasko in State College, Pennsylvania.


                                                                    BY THE COURT:


                                                                    _______________________
                                                                    Lawrence F. Stengel, J.




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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

       JOSHUA STULMAN                                :       CIVIL ACTION
                                                     :
                              Plaintiff              :
               v.                                    :
                                                     :
       PENNSYLVANIA STATE                            :       2:07-cv-01530-LS
       UNIVERSITY,                                   :
                                                     :
       CHARLES GAROIAN,                              :
                                                     :
       ROBERT YARBER, and                            :
                                                     :
       GRAHAM SPANIER                                :
                                                     :
                              Defendants             :

       OBJECTION OF DEFENDANT, PROFESSOR ROBERT A. YARBER, TO
     PLAINTIFF’S NOTICE OF VIDEOTAPE DEPOSITION DATED JULY 20, 2007

I.     INTRODUCTION

       Defendant, Professor Robert A. Yarber, objects to plaintiff’s Notice of Videotape

Deposition dated July 20, 2007, because while caselaw is clear that a defendant should be

deposed where they reside or do business (and in Professor Yarber’s case, that location is

University Park, Pennsylvania), the plaintiff’s Notice would require Professor Yarber to appear

for deposition in Philadelphia. For the reasons stated below, the Court should strike plaintiff’s

Notice of Videotape Deposition to the extent it would require an appearance in Philadelphia, and

direct Professor Yarber’s deposition to proceed as previously proposed, on July 25, 2007, at the

law offices of McQuaide Blasko in State College, Pennsylvania.




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II.    GROUNDS FOR RELIEF

                1.     Defendant Robert A. Yarber is employed as a Distinguished Professor of

Art at the Pennsylvania State University School of Visual Arts in University Park, Pennsylvania,

and resides in the surrounding area of Centre County, located within the Middle District of

Pennsylvania.


                2.     On July 12, 2007, the Court entered as Document 17 a Scheduling Order

which provides, in relevant part, that “the deposition of defendant Professor Robert Yarber shall

be scheduled and completed by July 31, 2007.” See Exhibit A (Scheduling Order).


                3.     By letter dated and faxed to all counsel on July 13, 2007, undersigned

defense counsel stated in part as follows:


                This will confirm that White and Williams plans to produce
                Professor Robert A. Yarber for deposition in this action on
                Wednesday, July 25, 2007, starting at 10:00 a.m. at the offices of
                McQuaide Blasko located at 811 University Drive, State College,
                Pennsylvania 16801-6699.

See Exhibit B (Letter, July 13, 2007) (emphasis supplied).

                4.     Over the six days which followed, plaintiff’s counsel did not express any

disagreement as to the proposed location of Professor Yarber’s deposition.


                5.     On July 20, 2007, plaintiff’s counsel issued a Notice of Videotape

Deposition for Professor Yarber, which purports to require Professor Yarber to appear for

deposition at the office of plaintiff’s counsel in Philadelphia, Pennsylvania. See Exhibit C

(Letter and Notice, July 20, 2007).



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               6.      Plaintiff’s counsel appears to believe that Professor Yarber is required to

appear for deposition in Philadelphia, because the plaintiff commenced this action in the Eastern

District of Pennsylvania. See id. (Letter, including the statement that “the notice calls for

Professor Yarber to appear in the district where the case is pending.”).


               7.      “A party seeking discovery must go where the desired witnesses are

normally located.” Farquhar v. Selden, 116 F.R.D. 70, 72 (E.D. Mich. 1987). A defendant who

resides outside the judicial district in which suit was filed is normally deposed at its principal

place of business. See Salter v. Upjohn Co., 593 F.2d 649, 651 (5th Cir. 1979) (“the deposition

of a corporation by its agents and officers should ordinarily be taken at its principal place of

business”).


               8.      Federal decisions, holding that a defendant corporation and its employees

are each deposed where they reside, are legion. See, e.g., Buzzeo v. Bd. of Educ., Hempstead,

178 F.R.D. 390, 392 (E.D.N.Y. 1998) (“The deposition of a non-resident defendant, however, is

generally conducted at the defendant’s place of residence”); Zuckert v. Berkliff Corp., 96 F.R.D.

161, 162 (N.D. Ill. 1982) (“If a corporation objects to depositions at a location other than its

principal place of business, the objections should be sustained unless there are unusual

circumstances which justify such an inconvenience to the corporation.”); Mitchell v. American

Tobacco Co., 33 F.R.D. 262, 263 (M.D. Pa. 1963) (“The courts have generally held that

depositions of officials of a corporate party should be taken at the corporation’s place of

business.”).




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                9.     Pennsylvania courts concur. See Pennington v. Cuprum, 32 Pa. D.&.C.

4th 75, 81 (North. Cty. 1996) (holding, in reliance on federal decisions, that “the oral deposition

of the employees of [defendant] Cuprum shall be conducted at Cuprum’s corporate headquarters

in Mexico.”).


                10.    The reason for the rule is that a defendant, individual or corporate, has in

no way selected the forum of the action, and should not be required to appear for deposition

there. See Farquhar, 116 F.R.D. at 73 (requiring plaintiff to depose defendant, a citizen of the

Netherlands who allegedly committed torts in the United States, in Amsterdam). “Thus, courts

have held that plaintiffs normally cannot complain if they must take discovery at great distances

from the forum.” Payton v. Sears, Roebuck & Co., 148 F.R.D. 667, 669 (N.D. Ga. 1993).


                11.    This Court may take judicial notice of the fact that the 192 mile journey

from State College to Philadelphia, at a reasonable rate of speed, will require at least three hours

and thirty minutes of driving time. See Packel & Poulin, Pennsylvania Evidence at § 201.2

(“The distance between places has been held to be a proper subject for judicial notice.”).

Professor Yarber should not be required to devote more than seven hours of road time to a nearly

400 mile round trip, to attend a videotape deposition in a District where he does not work or

reside, and which he did not select for this action.


                12.    Consistent with the authority discussed above, and pursuant to the relief

authorized by Fed. R. Civ. P. 26 (c), plaintiff should be required to depose Professor Yarber in

State College, Pennsylvania, as proposed by defense counsel seven days ago.




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               13.     Defense counsel certifies pursuant to Local Rule 26.1 (f) that after

reasonable effort, the parties have been unable to resolve the dispute concerning the location of

Professor Yarber’s deposition. Defense counsel proposed State College for the deposition on

July 13, yet plaintiff’s Notice of Videotape Deposition and accompanying correspondence dated

July 20 specifically notes plaintiff’s insistence that the deposition be taken in Philadelphia.

Compare Exhibits B and C.


III.   CONCLUSION

       For the reasons stated above, defendant Robert A. Yarber asks the Court to enter an

Order in the form submitted, striking plaintiff’s Notice of Videotape Deposition to the extent it

purports to require Professor Yarber to appear for deposition in Philadelphia, and requiring the

deposition to go forward on July 25, 2007, starting at or around 10:00 a.m. at the law offices of

McQuaide Blasko in State College, Pennsylvania.

                                               RHM 4782

                                               Thomas M. Goutman (TMG 2512)
                                               Richard H. Maurer (RHM 4782)
                                               WHITE AND WILLIAMS LLP
                                               1800 One Liberty Place
                                               Philadelphia, PA 19103-7395
                                               (215) 864-7088
                                               (215) 789-7588 fax
                                               Counsel for Defendants, Dr. Charles R. Garoian and
                                               Professor Robert A. Yarber

Dated: July 20, 2007




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                               CERTIFICATE OF SERVICE
       Richard H. Maurer hereby certifies that on this date, a copy of the Objection of

Defendant, Professor Robert A. Yarber, to Plaintiff’s Notice of Videotape Deposition Dated July

20, 2007 was served upon the following counsel of record by electronic service:

               David S. Senoff, Esquire
               BILLET & CONNOR, P.C.
               2000 Market Street
               Suite 2803
               Philadelphia, PA 19103-3201
               Counsel for Plaintiff, Joshua Stulman

               Jerome M. Marcus, Esquire
               MARCUS, AUERBACH & ZYLSTRA, LLC
               P.O. Box 8876
               Elkins Park, PA 19027
               Counsel for Plaintiff, Joshua Stulman

               James M. Horne, Esquire/Pa. Atty. No. 26908
               Katherine H. Allen, Esquire/Pa. Atty. No. 77676
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Dated: July 20, 2007




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